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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-80116-CR-CANNON/McCabe


  UNITED STATES OF AMERICA

  vs.

  RYAN WESLEY ROUTH,

          Defendant.
  __________________________________/

              GOVERNMENT’S STATUS REPORT REGARDING DISCOVERY

          Pursuant to this Court’s Order ([ECF No. 51]), the United States respectfully submits the

  following status report regarding discovery.

                                            Background

          On September 15, 2024, Defendant Ryan Routh, a convicted felon with a lengthy criminal

  history including a North Carolina conviction for possessing a weapon of mass death and

  destruction, attempted to kill then-Major Presidential Candidate, now President-Elect, Donald

  Trump. He did so by hiding on the perimeter of the Trump International Golf Course while the

  President-Elect was playing golf, and creating a sniper nest armed with a loaded SKS-style rifle

  bearing an obliterated serial number aimed directly at the course. When a Secret Service agent

  came across Routh in the tree line shortly before the President-Elect would have come into range,

  Routh targeted the agent before fleeing the golf course in a Nissan Xterra with a Florida license

  plate not registered to that vehicle.

          Law enforcement arrested Routh on September 15, and a federal grand jury later indicted

  him for multiple crimes giving rise to this prosecution. The Indictment ([ECF No. 21]) charges

  Routh with attempting to assassinate a Major Presidential Candidate, assaulting a federal officer,
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  being a felon in possession of a firearm, possessing a firearm with an obliterated serial number,

  and using a firearm in furtherance of a crime of violence. He faces life imprisonment if convicted

  of these charges. On September 23, 2024, Magistrate Judge McCabe detained Routh pending

  trial, finding that the defendant posed a danger to the community and a risk of flight due to, among

  other things, his history and strong evidence of his effort “to stalk [President-elect] Trump over a

  30-day period in an attempt to assassinate him.” (Det. Hrg. Tr.:129 ([ECF No. 17]).

         Routh’s apprehension, and the seriousness of this assassination attempt, by necessity

  prompted an intensive and wide-ranging reactive investigation into the Defendant’s whereabouts

  and contacts prior to September 15. For example, as discussed at the pre-trial detention hearing,

  in the Defendant’s vehicle alone law enforcement recovered six different cell phones (one of which

  contained a Google search of how to travel from Palm Beach County to Mexico), a passport with

  multiple entries, handwritten documents tracking the movements of the President-Elect, and a

  notebook containing dozens of pages filled with names and phone numbers pertaining to locations

  overseas. In its initial stages, as stated at the pretrial detention hearing, the investigation required

  a massive number of law enforcement agents and agencies, federal and state, working every day

  around the clock, learning information about Routh and developing a picture of his brazen

  assassination attempt and his movements across the United States, including to and from Hawaii,

  and multiple countries abroad, leading up to it.

         One inevitable consequence of such an investigation is the large volume of potential

  discovery that must now be collected and reviewed by the prosecutors in this case and provided to

  the defense in preparation for trial. That discovery, as summarized below, includes a trove of law

  enforcement reporting, a substantial quantity of body-worn-camera footage from officers involved


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  in apprehending Routh, and a large amount of electronic data from Routh’s electronic devices and

  accounts. The Government has worked diligently to review and compile items that must be

  produced as discovery in this case, and will continue to do so. We ask simply that the Court be

  mindful that this is an entirely reactive case, with no investigation of the assassination attempt

  before it happened, and also that the large volume of potential discovery gathered by investigators

  is commensurate with the grave seriousness and consequences of what Routh intended to do that

  afternoon.

                                    Discovery Provided to Date

         A. Documents and Electronic Data

         The Government served its first written response to the Standing Discovery Order (SDO)

  on October 17, 2024, providing basic information about the case and the Defendant, but indicating

  that the lion’s share of discovery would be made available once the Court entered a protective

  order (see [ECF No. 49]). The Court entered that Order on November 12, 2024 ([ECF No. 69]).

  The following day, the Government produced its first set of materials responsive to the SDO. We

  are attaching as Exhibit A to this report an index for that production, which included items Bates-

  stamped Gov 00001-777 and 1340-4112, consisting of the following:

         •       NCIC records for the Defendant;
         •       search warrants (no returns);
         •       photographs of the crime scene, of the Defendant, of the Nissan Xterra,
                 photos taken by eyewitness, vehicle tires, a container from a North Carolina
                 residence, which contained bullets, homemade weapons, and Defendant’s
                 letter to the “World” discussing his “assassination attempt on Donald
                 Trump,” the North Carolina residence itself, and the seized rifle;
         •       license plate reader (LPR) data;
         •       interstate nexus examination;
         •       consent and other forms/property receipts;
         •       drone footage of the crime scene;
         •       Defendant’s travel records;

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         •         Defendant’s telephone subscriber and toll records;
         •         Copies of Defendant’s prior convictions.

         Immediately upon providing all these materials to the defense, the Government compiled

  additional discovery for production. That same day, November 13, the Government supplied

  these additional items to the defense in our Second SDO response ([ECF No. 71]). Attached as

  Exhibit B is an index for that production, which included Bates Numbers Gov 004113-5953,

  consisting of:

         •         FBI 302 reports 1
         •         Laboratory reports and supporting documentation
         •         Evidence logs, property receipts, maps
         •         Defendant’s jail communications and other letters written by Defendant
         •         Records obtained from third parties
         •         More photographs of crime scene, Nissan Xterra and items found therein
         •         Additional LPR data

         The Government next provided the defense with a Third SDO response containing

  additional materials recently prepared for production (ECF No. 73]). The Government served its

  Third SDO response on November 21, including Bates Numbers Gov 005954-7523, consisting of

  the following items contained on the indices attached as Exhibit C to this report:

         •   Laboratory reports not previously disclosed and not part of the expert
             disclosure
         •   The attachments to all previously disclosed FBI reports
         •   Search Warrant returns
         •   Some body worn camera footage, including footage capturing Defendant’s
             preliminary statements to law enforcement and an eyewitness’s identification
             of Defendant
         •   Extractions of digital evidence seized in this case


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    To be clear, our early disclosure (upon receipt) of FBI 302 interview reports is not required by
  any discovery rule and certainly not mandated by the Jencks Act. See United States v. Judon, 581
  F.2d 553, 556 (5th Cir. 1978) (holding that FBI interview reports are not Jencks Act material and
  were thus not producible to defendant at trial).


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         B. Expert Discovery

     Meanwhile, as required by this Court’s pretrial Order ([ECF No. 51]), the Government on

  November 17 provided to the defense its initial expert disclosures in accordance with 16(a)(1)(G),

  and this Court’s Local Rule 88.10(o)(3), summarizing information regarding areas of expert

  witness testimony that we reasonably anticipate offering at this time (see [ECF No. 72]). The

  Government also supplied the defense with supporting test and laboratory reports relating to those

  anticipated areas of expert testimony available at that time. This disclosure contained items

  Bates-numbered GovExp 00001-11,129, consisting of:

     •   Documents related to the FBI laboratory’s evidence management protocols, SOPS
         and procedures

     •   Reports of experts not previously disclosed as well as CVs and supporting
         documents and photographs used to conduct laboratory analyses in this case.

  The Government made an additional disclosure of expert-related photographs on November 20

  and 21. They are Bates-numbered GovExp 0011130-11132 and GovExp 0011133-39.

         C. Physical Evidence

         The Government has also taken steps to aid the defense’s review of physical evidence in

  the case (such as Xterra in which Routh fled) and to conduct a crime scene visit. Defense counsel

  advised us that they did not want to schedule any of these evidence views until they received more

  discovery and started their review of the discovery. Nonetheless, the Government has already

  engaged in multiple conversations on our end to consider the logistics of such evidence views

  (including at the golf course, which is privately-owned and has independent security and privacy

  concerns). Based upon those conversations, on November 22, the Government sent a detailed

  email to defense counsel identifying protocols for the evidence views and proposing a framework


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  for dates when those inspections can occur in the near future. The Government also explained

  that all of the items of evidence collected in this case are currently located in either the FBI facility

  in Miramar or at FBI labs in Quantico, Virginia. Items in South Florida are available for

  inspection upon reasonable notice; the items currently located in Virginia (including the firearm

  and some of Routh’s letters) are still being processed. Once the processing is complete, the

  prosecution will request that those items to be returned to the FBI facility in Miramar where they

  can be presented for inspection.

                        Anticipated Future Discovery from the Government

          There are several areas of potential discovery that the prosecution team is continuing to

  gather and review.      These include primarily (1) the remainder of body-worn camera and

  dashboard camera footage from the day of Routh’s arrest, (2) traffic camera footage; and (3)

  security video obtained from private businesses. The prosecution team is in the process of

  obtaining and reviewing these materials and expects to have some or all of them available for

  production soon.

          In addition, as we told the defense in our November 17 letter, the Government expects to

  make further expert disclosures, as the results of pending laboratory tests and data analyses become

  available, and undersigned counsel assess whether expert testimony in these areas may be needed.

                                           Defense Discovery

          Finally, the Government has thus far received no discovery of any kind from the defense.

  The Government requested this reciprocal discovery in its First SDO response ([ECF No. 49] at

  8), and reiterated that request in an email to defense counsel on November 22. The Government

  also on November 22 formally requested reciprocal expert discovery from the defendant. We


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  recognize that the defense team may be in the early stages of reviewing the discovery provided to

  it, but a significant amount of that discovery is the defendant’s own or known to him. It is also

  evident already that this Defendant is not shy about contacting the news media to publicize his

  views on this case and the President-Elect, and we anticipate that there may be sizeable discovery

  that, under the rules, the defense will be required to produce to us before trial.

                                               Conclusion

         The Government has complied with the Court’s deadlines, and produced discovery in three

  SDO responses accompanied by detailed indices, as well as in separate communications with the

  defense. We will continue to comply with our obligations. The Government will, of course, be

  prepared to address any of these topics for the Court at the upcoming status conference.

                                                 Respectfully submitted,

                                                 MARKENZY LAPOINTE
                                                 UNITED STATES ATTORNEY

                                         By:     /s/ John Shipley
                                                 John C. Shipley
                                                 Florida Bar No. 69670
                                                 Christopher B. Browne
                                                 Florida Bar No. 91337
                                                 Mark Dispoto
                                                 Court Id. Number A5501143
                                                 Assistant United States Attorneys

                                                 U.S. Attorney’s Office
                                                 Southern District of Florida
                                                 99 Northeast 4th Street, 8th Floor
                                                 Miami, Florida 33132-2111
                                                 Telephone: (305) 961-9111
                                                 E-mail: John.Shipley@usdoj.gov




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                                     MATTHEW G. OLSEN
                                     ASSISTANT ATTORNEY GENERAL

                               By:   /s/ David C. Smith
                                     David C. Smith, Trial Attorney
                                     Court ID No. A5503278
                                     Department of Justice, National Security Division
                                     950 Pennsylvania Avenue, NW
                                     Washington, DC 20530
                                     Telephone: (202) 514-0849
                                     Email: David.Smith5@usdoj.gov




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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk

  of the Court using CM/ECF on OVEMBER 22, 2024.

                                                 /s/ John C. Shipley
                                                 Assistant United States Attorney




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